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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2017 OK 45Case Number: SCBD-6511Decided: 05/30/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 45, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

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IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2016




ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE 
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION


On May 19, 2017, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2016 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules.

This Court finds that on March 15, 2017, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2016.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 30th DAY OF MAY, 2017.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR


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EXHIBIT A
(MCLE - Suspension)

Marc S. Albert, OBA #32287
14 Brook Lane
Brookville, NY 11545

Daniel Allen Arnett, OBA #30359
421 Nantucket Blvd.
Norman, OK 73071

Joseph Bradley Ayo, OBA #31458
1841 Portsmouth St.
Houston, TX 77098

Brent Douglas Berry, OBA #18013
7701 S. Western Ave.
Oklahoma City, OK 73139-2432

Jess Lynn Brewer II, OBA #14680
13428 Palm Ave.
Edmond, OK 73013

Elizabeth Riley Castleberry, OBA #10460
1755 W. 33rd Street, Suite 100
Edmond, OK 73013

Lawrence Matthew Corrales, OBA #21146
P.O. Box 6608
Norman, OK 73070

Teresa B. Davis, OBA #14949
14840 Hwy. 25170
Marshall, NC 28753

Jacqueline Cronkhite Dodd, OBA #30851
17 N. 6th St.
P.O. Box 1526
Fort Smith, AR 72902-1526

Kristin Foster, OBA #30078
1080 Bergen Street, #188
Brooklyn, NY 11216

Keith Scott Francis, OBA #13279
8404 E 107th St S
Tulsa, OK 74133-7321

Grant Chase Garrard, OBA #30085
11248 Broomfield Lane, #216
Broomfield, CO 80021

Sara Ruth Garrett, OBA #31907
129 E. 46th St., Apt. 5
Kansas City, MO 64112

Ryan Patrick Goodwin, OBA #32403
1814 E. 72nd St., Apt. 1615
Tulsa, OK 74136

Daniel Ryan Hensch, OBA #30315
2705 N. Windsor Blvd.
Oklahoma City, OK 73127

Martha Lynne Hyde, OBA #31102
7854 South 69 East Ave.
Tulsa, OK 74133

Bryan Lynn Kingery, OBA #15507
P.O. Box 398
Ada, OK 74820

Ryan Andrew Kuzmic, OBA #32249
1722 S. Carson Ave., Apt. 2207
Tulsa, OK 74119

Carl O. LaMar, OBA #18203
1501 N. 13th St.
P.O. Box 357
Duncan, OK 73533

Randolph Lee Marsh, OBA #17313
1900 Enchanted Way, Suite 125
Grapevine, TX 76051

Nathan Stewart McKibben, OBA #31406
4341 N.W. 43rd Street
Oklahoma City, OK 73112

Scott Ford McKinney, OBA #16692
12216 Banyan Lane
Oklahoma City, OK 73162

Jay Patrick Moisant, OBA #19682
14453 SE 29th Street, Suite B
Choctaw, OK 73020

Kimberly Farabough Mouledoux, OBA #30184
920 Bixby
Ardmore, OK 73401

Bridget Elizabeth Rains, OBA #31691
101 Darwin Rd.
Edmond, OK 73034

Margarita Solis, OBA #18998
4123 W. Main St., Apt. H
Norman, OK 73072-4566

Nicholas J. Stockdale, OBA #31429
2433 N.W. 54th St.
Oklahoma city, OK 73112

Lyle Stewart Vaughn, OBA #11185
912 N.W. 41st St.
Oklahoma City, OK 73118

George William Wiland III, OBA #20943
210 W. 12TH Street
Tulsa, OK 74119

Kajeer Yar, OBA #18162
2651 E. 66th St.
Tulsa, OK 74136





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2017 OK 59, 397 P.3d 1286, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. HYDECited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
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	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
